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_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
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             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 NO.:

HELEN WILSON                                                    15-14068-JDW

                   ORDER RE: MOTION TO DISMISS (Dkt. #11)

      THIS MATTER came before the Court on Trustee’s Motion to Dismiss and

response(s) thereto; and the Court being advised that Trustee requests to withdraw

her motion as Debtor remitted sufficient funds for confirmation of this case.

      IT IS THEREFORE ORDERED that Trustee’s Motion to Dismiss shall be and

is hereby withdrawn.

                                ##END OF ORDER##
SUBMITTED BY:

/s/ G. Adam Sanford
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